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 9                        UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11
      BROIDY CAPITAL MANAGEMENT LLC                        Civil Case No.:
12    and ELLIOTT BROIDY,
                                                           2:18-CV-02421-JFW-(Ex)
13
            Plaintiffs,
14
                                                           DEFENDANT STATE OF QATAR’S
            v.
15                                                         EX PARTE APPLICATION FOR
                                                           EXPEDITED HEARING ON ITS
16    STATE OF QATAR, STONINGTON
                                                           MOTION TO STAY DISCOVERY;
      STRATEGIES LLC, NICOLAS D.
17                                                         MEMORANDUM OF POINTS AND
      MUZIN, GLOBAL RISK ADVISORS
                                                           AUTHORITIES
18    LLC, KEVIN CHALKER, DAVID MARK
      POWELL, MOHAMMED BIN HAMAD
19
      BIN KHALIFA AL THANI, AHMED AL-                      Amended Complaint: May 24, 2018
20    RUMAIHI, and DOES 1-10,                              Judge: Hon. John F. Walter
21
            Defendants.
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                              DEFENDANT STATE OF QATAR’S EX PARTE APPLICATION
                           FOR EXPEDITED HEARING ON ITS MOTION TO STAY DISCOVERY
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 1                                  EX PARTE APPLICATION
 2         Pursuant to Local Rule 7-19, Defendant State of Qatar hereby applies ex parte for
 3   an order advancing by one week, to June 25, 2018, the hearing date on Qatar’s
 4   concurrently-filed Motion to Stay Discovery Pending Resolution of Qatar’s Motion to
 5   Dismiss.
 6         Ex parte relief is warranted because, without an expedited hearing, the Court will
 7   not have an opportunity to consider and rule on the concurrently-filed Motion to Stay
 8   Discovery prior to the date on which responses to the relevant discovery are due. As
 9   explained more fully in Qatar’s Motion to Stay, Plaintiffs have already served discovery
10   requests that implicate Qatar’s sovereign and consular interests and immunities, and
11   would necessitate Qatar’s involvement in intrusive and burdensome discovery before the
12   Court has an opportunity to consider the threshold question of whether Qatar is immune
13   from suit under the Foreign Sovereign Immunities Act. Responses to such discovery
14   requests are currently due July 2, 2018, the earliest date on which a hearing may
15   otherwise be set under this Court’s local rules.
16         On June 1, 2018, counsel for Qatar notified Plaintiffs’ counsel by phone and e-mail
17   of Qatar’s intention to seek an ex parte ruling setting an expedited hearing date on
18   Qatar’s Motion to Stay. See Declaration of Neema T. Sahni in Support of Defendant
19   State of Qatar’s Ex Parte Application for Expedited Hearing on its Motion to Stay
20   Discovery, ¶¶ 2-4 (concurrently filed). Plaintiffs’ counsel stated that it would oppose
21   Qatar’s ex parte application. Id. ¶ 5.
22    Dated: June 4, 2018                           Respectfully submitted,
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                                                    COVINGTON & BURLING LLP
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                                                    By: /s/ Mitchell A. Kamin
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                                                         MITCHELL A. KAMIN
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                                                            Attorneys for Defendant State of Qatar
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                               DEFENDANT STATE OF QATAR’S EX PARTE APPLICATION
                            FOR EXPEDITED HEARING ON ITS MOTION TO STAY DISCOVERY
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2         Shortly after filing this action, and after this Court denied their request for
 3   expedited discovery, Plaintiffs propounded broad discovery requests on Defendants
 4   Nicolas Muzin and Stonington Strategies. Plaintiffs also served subpoenas on a number
 5   of third-party registered agents of Qatar, and others who have been employed or engaged
 6   by Qatar to advise or assist in diplomatic or sovereign functions.
 7         On May 4, 2018, after Qatar indicated to Plaintiffs its intent to move to stay all
 8   discovery in this action, the parties stipulated to a temporary stay of discovery
 9   encompassing, inter alia, the discovery propounded to Muzin, Stonington and others
10   purportedly working with Qatar, in order for Plaintiffs to amend their Complaint. Dkt.
11   45.
12         Under the Court’s Scheduling Order, the stay of discovery is set to expire today,
13   i.e., June 4, 2018. Dkt. 46. The Scheduling Order further provides that Qatar may file a
14   motion for further stay of discovery on or after June 4, 2018, id., which it has filed
15   concurrently herewith. Any opposition to such Motion to Stay is due 7 days from today,
16   and any reply is due 7 days thereafter. Id. The Scheduling Order does not specify a date
17   for which a hearing is to be noticed for any Motion to Stay.
18         Under the Scheduling Order, parties and non-parties that had already been served
19   with discovery or subpoenas are required to respond no later than July 2, 2018, with
20   objections due on June 18, 2018. Id. This already-served discovery falls within the
21   universe of discovery that Qatar requests, in its concurrently-filed Motion, be subject to a
22   complete stay pending a decision on the threshold jurisdictional issues Qatar will raise in
23   its forthcoming motion to dismiss.
24   I.    ARGUMENT
25         Pursuant to Local Rule 6-1, a noticed motion shall be served 28 days prior to the
26   date of the hearing on the motion, unless the Court orders a shorter time. By this ex parte
27   application, Qatar requests that, if the Court determines a hearing is necessary on its
28   Motion to Stay Discovery, such hearing be set for one week earlier than permitted under
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                                DEFENDANT STATE OF QATAR’S EX PARTE APPLICATION
                             FOR EXPEDITED HEARING ON ITS MOTION TO STAY DISCOVERY
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 1   the Local Rules, i.e., June 25, 2018, so that the Court has an opportunity to consider the
 2   Motion prior to the date on which responses to discovery requests already served are due
 3   (July 2, 2018).
 4         There is good cause for advancing the hearing date by one week. Plaintiffs have
 5   already served six Rule 45 subpoenas duces tecum to third parties who are FARA-
 6   registered agents of Qatar and other entities engaged by Qatar to advise or assist them in
 7   diplomatic or sovereign functions. These subpoenas include document requests that
 8   encompass official correspondence from the embassy of Qatar and other consular records
 9   that are “inviolable” under the Vienna Convention, as more fully explained in Qatar’s
10   Motion to Stay Discovery. Plaintiffs also served Requests for Production on Defendants
11   Muzin and Stonington Strategies that likewise explicitly request protected material. The
12   effect of any order staying discovery would be meaningfully reduced if the Court does
13   not hear argument on the Motion to Stay Discovery until the very day on which discovery
14   responses are due.
15         At the same time, the relief requested herein would create no prejudice for the
16   Plaintiffs. In the normal course, opposition briefs are due 21 days prior to the hearing
17   date, with reply papers due 14 days prior to the hearing date. L.R. 7-9, 7-10. However,
18   in this case, the Court has already approved a stipulated briefing schedule under which
19   Plaintiffs have 7 days to oppose the Motion to Stay, with another 7 days for Qatar to
20   reply. Dkt. 46. The parties neglected to stipulate to, and the Court did not set, a specific
21   hearing date. But Qatar has always intended to promptly move to stay discovery and to
22   ensure expedited briefing and prompt consideration of the same before responses to
23   already-served discovery become due. Under these circumstances, Plaintiffs will suffer
24   no prejudice because a hearing date one week earlier than contemplated by the local rules
25   will not impact Plaintiffs’ timeline for responding to the Motion or otherwise alter the
26   agreed-upon briefing schedule.
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                               DEFENDANT STATE OF QATAR’S EX PARTE APPLICATION
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 1   II.   CONCLUSION
 2         For the foregoing reasons, Defendant State of Qatar respectfully requests that the
 3   Court grant this ex parte application to set the hearing date on its Motion to Stay
 4   Discovery for June 25, 2018, in the event that the Court determines a hearing is needed,
 5   so that the Court may consider the Motion’s contents prior to the date on which discovery
 6   responses are currently due.
 7                            COUNSEL FOR OPPOSING PARTY
 8         Pursuant to Local Rule 7-19, Defendants submit the following list of counsel for
 9   Plaintiffs, the opposing party to this ex parte application:
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                                DEFENDANT STATE OF QATAR’S EX PARTE APPLICATION
                             FOR EXPEDITED HEARING ON ITS MOTION TO STAY DISCOVERY
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 1    Dated: June 4, 2018                           Respectfully submitted,
 2
                                                    COVINGTON & BURLING LLP
 3
                                                    By: /s/ Mitchell A. Kamin
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 5                                                          Attorneys for Defendant State of Qatar
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                               DEFENDANT STATE OF QATAR’S EX PARTE APPLICATION
                            FOR EXPEDITED HEARING ON ITS MOTION TO STAY DISCOVERY
